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UNITED STA'I`ES DISTRICT COURT

DISTRICT OF MASSACHUSETTS
) .
UNITED STATES OF AMERICA ) Criminal No. l(L"' | 0\0(0
)
v. ) Violations:
)
DEMONE COLEMAN, ) Counts One - Four: 21 U.S.C. § 84l(a)(l)
Defendant. ) Distribution of a Controlled Substance
)
) Drug Forfeiture
) 21 U.S.C. § 853
)
INDICTMENT
COUNT ONE: 21 U.S.C. § 84l(a)(l) - Distn'bution of a Controlled Substance
The Grand Jury charges that:

On or about May 31, 2017, in the District of Massachusetts,
DEMONE COLEMAN,
defendant herein, did knowingly and intentionally distribute cocaine base, a Schedule II
controlled substance.

All in violation of Title 21 , United States Code, Section 84l(a)(1).

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COUNT TWO: 21 U.S.C. § 84l(a)(l) - Distribution of a Controlled Substance
The Grand Jury further charges that:
On or about June 22, 2017, in the District of Massachusetts,
DEMONE COLEMAN,
defendant herein, did knowingly and intentionally distiibute cocaine base, a Schedule II
controlled substance.

All in violation of Title 21 , United States Code, Section 841(a)(l ).

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COUNT TI-IREE: 21 U.S.C. § 841(a)(1) - Distribution of a Controlled Substance
The Grand Jury further charges that:
On or about June 29, 2017, in the District of Massachusetts,
DEMONE COLEMAN,
defendant herein,, did knowingly and intentionally distribute cocaine base, a Schedule II
controlled substance.

All in violation of Title 21, United States Code, Section 84l(a)(l).

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COUNT FOUR: 21 U.S.C. § 841(a)(l) - Distribution of a Controlled Substance
The Grand Jury further charges that:
On or about September 27, 2017, in the District of Massachusetts,
DEMONE COLEMAN,
defendant herein, did knowingly and intentionally distribute cocaine base, a Schedule II
controlled substance.

All in violation of Title 21 , United States Code, Section 84l(a)(1).

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DRUG FORFEITURE ALLEGATION
(21 U.S.C. § 853)

1. Upon conviction of one or more of the offenses in violation of Title 21, United
States Code, Section 841(a), set forth in Counts One through Four of this Indictment,
DEMONE COLEMAN,
defendant herein, shall forfeit to the United States, pursuant to Title 21, United States Code,
Section 853, any property constituting, or derived from, any proceeds obtained, directly or
indirectly, as a result of such offenses; and any property used, or intended to be used, in any
manner or part, to commit, or to facilitate the commission of, such offenses.
2. If any of the property described above as being forfeitable pursuant to Title 21 ,
United States Code, Section 853, as a result of any act or omission of the defendant --
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided without
difhculty;

it is the intention of the United States, pursuant to Title 21, United States Code, Section 853(p),
to' seek forfeiture of any other property of the defendant up to the value of the property described
above.

All pursuant to Title 21, United States Code, Section 853,

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A TRUE BILL:

 

F crs rhe'GrandJur-y

    

rcholas Soivilien
Assistant United States Attomey

District of Massachusetts
April 19, 2018

Retumed into the District Court by the Grand Jurors and filed.

KbULfI/\MN\M

Deputy cleik

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case zoaser-noazrs-Javoermasmlacmraerrri@mmraaram€f@w MQM§@D #: 15

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Criminal Case Cover Shgt U.S. District Court - Distri f M chusetts
Place of Ot’|'ense: Category No. _o_____ lnvestigating Agency VA'olG

City B°df`ml Relatcd Case Information:

County m Superseding Ind./ lnf. Case No.

 

Same Defendant New Defendant
Magistrate Judge Case Number l7~mj'7219'JCB
Search Warrant Case Number
R 20/R 40 from District of

 

 

Defendant Information:
Defendant Name D¢m°ne C<>l¢man Juvenile: m Yes No
Is this person an attorney and/or a member of any state/federal bar: |:l Yes No

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Alias Name
Address _(.CioL&§tat¢l B°S‘°“’ MA
Birth date (Yr only): 1979 SSN (last4#): 5574 Sex M Race: B Nationality: U-S-
Defeose Couosel if known: lan Gold Address Law OE'rce of lan Gold
Bar Number 2 Mill & Main Place, Suite 260 EF
Maynard, Ma 01754
U.S. Attomey Information:
AUSA Nicholas Soivilien Bar Number if applicable 675757
Interpreter: m Yes No List language and/or dialect:
vietims: |:|Yes No rfyee, are mere multiple crime vierine under 18 usc§3771(d)(2) |'_`| Yes [:| No
Matcerw be sEALED: |:| Yes No
UWarrant Requested m Regular Process In Custody
Location Status:
Arrest Date 11/01/2017
-Alrmdy in Federal Custody as of 01/19/2018 in Wyatt Detention Center
I:lArreedy in stare custody er Eserving senrenee |:P.wairing Trrar
E|On Pretrial Release: Ordered by: on
Charging Document: EComplaint ElInformation Indictment
Total # of Counts: |:lPetty ___ EMisdemeanor _ Felony

Continue on Page 2 for Entry of U.S.C. Citations

l hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above.
Date: 04/19/2018 Signature of AUSA: %LM“;A.;\A

 

 

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District Court Case Number ('I`o be filled in by deputy clerk):

 

Name of Defendant Demone Coleman

 

 

U.S.C. Citations
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Distribution of a Controlled Substance
Set 1 21 U.S.C. § 841(a)(1) l -4
Drug Forfeiture

3e1 2 21 U.s.c. § 853

 

Set 3

 

Set 4

 

Set 5

 

 

Set6

 

 

Set 7

 

Set 8

 

 

Set9

 

 

Set 10

 

Setll

 

 

Set 12

 

Set 13

 

 

Set 14

 

 

Set 15

 

 

ADDITIONAL lNFORMATION:

 

 

 

 

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